        Case 3:24-cr-00141-VC          Document 44         Filed 02/04/25      Page 1 of 17
                                                                                            FILED
                                                                                              Feb 04 2025

                                                                                             Mark B. Busby
                       UNITED STATES DISTRICT COURT                                    CLERK, U.S. DISTRICT COURT
                                                                                    NORTHERN DISTRICT OF CALIFORNIA
                       NORTHERN DISTRICT OF CALIFORNIA                                      SAN FRANCISCO




                             CRIMINAL COVER SHEET
Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.


 CASE NAME:                                                CASE NUMBER:
 USA V.    Linwei Ding                                              CR 24-cr-00141 VC

 Is This Case Under Seal?                       Yes       No ✔

 Total Number of Defendants:                       1 ✔ 2-7            8 or more

 Does this case involve ONLY charges
                                                Yes       No   ✔
 under 8 U.S.C. § 1325 and/or 1326?

 Venue (Per Crim. L.R. 18-1):                    SF ✔ OAK             SJ

 Is this a potential high-cost case?            Yes       No ✔

 Is any defendant charged with
                                                Yes       No ✔
 a death-penalty-eligible crime?

 Is this a RICO Act gang case?                  Yes       No ✔

 Assigned AUSA
                                                Date Submitted: 2/4/2025
 (Lead Attorney): Molly Priedeman & Casey Boome

 Comments:




                                                               RESET FORM              SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
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       United States District Court                                                FILED
                          FOR THE                                                   Feb 04 2025
               NORTHERN DISTRICT OF CALIFORNIA                                     Mark B. Busby
                                                                             CLERK, U.S. DISTRICT COURT

                    VENUE: SAN FRANCISCO                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                                  SAN FRANCISCO




                         UNITED STATES OF AMERICA,
                                       V.

                  LINWEI DING, a.k.a. Leon Ding,




                              DEFENDANT(S).


   SUPERSEDING INDICTMENT

      18 U.S.C. § 1832(a)(1), (2) and (3) – Theft of Trade Secrets;
       18 U.S.C § 1831(a)(1).(2), and (3) – Economic Espionage
      18 U.S.C. §§ 981(a)(1)(C), 1834, and 2323, and 28 U.S.C. §
                     2461(c) – Criminal Forfeiture.




          A true bill.
                 /s/ Foreperson of the Grand Jury
                                                        Foreman

          Filed in open court this __4th _____ day of
                                    ___
            February 2025
          _________________________________.
           ____________________________________________
                                                  Clerk
           ____________________________________________

                                                     no process
                                            Bail, $______________
          Hon. Laurel Beeler, U.S. Magistrate Judge
             Case 3:24-cr-00141-VC       Document 44        Filed 02/04/25     Page 3 of 17




 1 ISMAIL J. RAMSEY (CABN 189820)                                          FILED
   United States Attorney
 2
                                                                             Feb 04 2025
 3
                                                                        Mark B. Busby
 4                                                                CLERK, U.S. DISTRICT COURT
 5                                                             NORTHERN DISTRICT OF CALIFORNIA
                                                                       SAN FRANCISCO
 6

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                      SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                      )   CASE NO. 24-cr-00141 VC
                                                    )
12           Plaintiff,                             )   VIOLATIONS:
                                                    )   18 U.S.C. § 1832(a)(1), (2) and (3) – Theft of Trade
13      v.                                          )   Secrets;
                                                    )   18 U.S.C § 1831(a)(1).(2), and (3) – Economic
14   LINWEI DING, a.k.a. Leon Ding,                 )   Espionage
                                                    )   18 U.S.C. §§ 981(a)(1)(C), 1834, and 2323, and 28
15           Defendant.                             )
                                                    )   U.S.C. § 2461(c) – Criminal Forfeiture.
16                                                  )
                                                    )   SAN FRANCISCO VENUE
17

18
19                                SUPERSEDING INDICTMENT
20 The Grand Jury charges:

21                                          Introductory Allegations
22 At all times relevant to this Superseding Indictment:

23 Background on Google, LLC

24           1.      Google, LLC (“Google”) was a technology company headquartered in Mountain View,
25 California. Google was a subsidiary of Alphabet Inc., the world’s third-largest technology company by

26 revenue with a market capitalization of approximately $1.75 trillion. Google’s products and services

27 included Google Search, Google Maps, YouTube, Android, Chrome, Google Play, and Google Cloud,

28 among others. Google was integrating artificial intelligence (“AI”) and machine learning (“ML”) into its


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 1 products and services and conducting research to develop next generation AI technology. Among

 2 Google’s AI initiatives was the development of supercomputing data centers capable of training and

 3 serving state of the art proprietary AI models, conducting AI research, and integrating AI into Google’s

 4 core products and services. Google Cloud also leased part of its supercomputing data centers to other

 5 companies who used the infrastructure to train their own AI models and host AI applications.

 6          2.     Large AI models and the AI applications they supported could make predictions, find

 7 patterns, classify data, understand nuanced language, and generate intelligent responses to prompts,

 8 tasks, or queries. To achieve this capability, large AI models were created through a computation-

 9 intensive process called “training,” which involved processing an enormous volume of text, code,

10 images, video, and other data.

11          3.     Google offered a range of products designed to accelerate ML tasks, including Graphics

12 Processing Unit (“GPU”) and Tensor Processing Unit (“TPU”) based products. GPUs and TPUs were

13 advanced computer chips with the extraordinary processing power required to train and serve large AI

14 models. Google’s customers could access and use TPUs and GPUs for their own machine learning

15 workloads via Google Cloud. Google also used the chips for its own purposes, for example to train and

16 serve its own AI models, such as Gemini.

17          4.     TPUs were developed in-house by Google to accelerate deep learning workloads. Deep

18 learning uses neural networks, a type of AI model trained to make decisions in a manner similar to the
19 human brain. Google built complex systems that combined thousands of interconnected TPU chips to

20 achieve high performance and support large AI models. Google designed its TPUs to contain four

21 primary components: (1) TensorCore; (2) BarnaCore/SparseCore; (3) high bandwidth memory (HBM)

22 access interface; and (4) inter-chip-interconnect (ICI). The TensorCore component was the main

23 processing component of the chip and was responsible for most of the acceleration. The

24 BarnaCore/SparseCore component was responsible for sparse computation, which provided substantial

25 acceleration on certain types of deep learning workloads. The HBM access provided a way for the chip

26 to access memory. ICI was a Google-developed technology that allowed TPU chips to communicate.

27 Google created custom designed machines to house multiple TPUs and to scale the processing power for

28 ML workloads. Each TPU machine had multiple components designed to optimize value, cost, and


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 1 efficiency. Multiple TPU machines were installed on a rack, and machines across multiple racks were

 2 then connected. This large-scale proprietary system allowed Google to create a supercomputer and

 3 accelerate ML tasks at scale. The hardware infrastructure for Google’s TPUs was managed by several

 4 layers of software. Google used custom designed software to manage the hardware and resources within

 5 a TPU, to facilitate communication between TPUs, and to allocate and manage collections of

 6 interconnected TPUs to complete different workloads.

 7          5.     GPUs were accelerators that could be also used for machine learning. Google purchased

 8 the GPUs used in its data centers from another technology company. Google designed custom machines

 9 intended to hold multiple GPUs, as a well as a system designed to connect thousands of GPUs and to

10 provide the necessary power, cooling, and networking for high-performance computing. Google’s GPU

11 hardware infrastructure was managed by several layers of software. Google used custom designed

12 software to facilitate communication between GPUs and to allocate and manage collections of

13 interconnected GPUs.

14          6.     To enhance the functions of its GPU products, Google used a custom designed

15 SmartNIC, a type of network interface card. A SmartNIC was a hardware device that offloaded

16 networking functions from a server’s Central Processing Unit (CPU). Google’s SmartNIC incorporated

17 a proprietary chip component designed to deliver low-latency and high-bandwidth transfers of data over

18 large-scale networks. Google also developed software and used its custom designed SmartNIC to
19 enhance its high performance and cloud networking products.

20          7.     The hardware infrastructure in Google’s network of data centers was managed by several

21 layers of software (the “software platform”). The software platform provided instructions, in the form

22 of code, which communicated tasks to the hardware infrastructure for execution. One component of the

23 software platform was the Cluster Management System (“CMS”), which functioned as the “brain” of

24 Google’s supercomputing data centers in that the CMS organized, prioritized, and assigned tasks to the

25 hardware infrastructure, allowing the hardware to function efficiently when executing machine learning

26 workloads or hosting AI applications.

27 Google’s Proprietary Information Protection Policies

28          8.     Google took reasonable measures to safeguard its proprietary technology, information,


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 1 and trade secrets. For instance, Google secured its physical space by deploying campus-wide security

 2 guards and installing cameras on most building entry points. Google restricted access to its buildings by

 3 requiring employees to badge in at front entrances. Certain floors or areas within buildings were further

 4 restricted to a subset of employees by badge access. Advance registration was required for guests, and

 5 Google employees were required to escort their guests at all times.

 6          9.     Google also took measures to secure its network. One method was a data loss prevention

 7 system that monitored and logged certain data transfers to and from Google’s network. Google also

 8 required each device to be uniquely identified and authenticated before accessing the Google corporate

 9 network. All Google employees were required to use two-factor authentication for their work-related

10 Google accounts. Employee activity on Google’s network was logged, including file transfers to

11 platforms such as Google Drive or DropBox.

12          10.    Google collected physical and network access information, including badge access times

13 and locations, Internet Protocol (IP) addresses for employee logins, and two-factor authentication logs,

14 and gathered this information in a database to analyze potential risks. This data was regularly assessed

15 both by automated tools and human analysts to detect potential malicious activity. For example, if a

16 Google employee’s account were used to access the network through an IP address registered in a

17 different location from a door access badge-in for the same employee, an “Impossible Location Signal”

18 would be generated, and Google’s security team would be notified. Google employees were instructed
19 to report remote work from foreign locations, and Google automatically limited the network access of

20 employees traveling to certain countries, such as the People’s Republic of China (PRC), the Democratic

21 People’s Republic of Korea (DPRK), and Iran.

22          11.    Within the Google network, access to certain sensitive information, including the trade

23 secrets identified below in Trade Secret Categories One through Seven, was further restricted to a subset

24 of employees whose job duties related to the subject matter.

25          12.    Every Google employee was required to sign an Employment Agreement through which

26 the employee agreed:

27                     a) To hold all Google Confidential Information, which included Google trade

28                         secrets, “in strict confidence;”


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 1                     b) Not to use Google Confidential Information “for any purpose other than for the

 2                         benefit of Google in the scope of [their] employment;”

 3                     c) Not to “retain any documents or materials or copies thereof containing any

 4                         Google Confidential Information” upon termination from Google; and

 5                     d) Not to engage in other employment or business activity that “directly relates to

 6                         the business in which Google is now involved, becomes involved, or has plans to

 7                         become involved,” or “otherwise conflicts with Google’s business interest.”

 8          13.    Every new Google employee was required to sign Google’s Code of Conduct, which

 9 stated, in part, that every Google employee must “take steps to keep our trade secrets and other

10 confidential intellectual property secret.” Additional supplementary security training was often provided

11 for employees working on sensitive technology projects.

12          14.    All employees were trained on the importance of protecting Google’s intellectual

13 property. For instance, Google employees were required to complete “Privacy and Information

14 Security” training while onboarding with Google and periodically thereafter. This training included

15 modules about the importance of protecting Google’s trade secrets.

16 Linwei DING’s Employment with Google

17          15.    Google hired Linwei DING as a software engineer in 2019. DING signed Google’s

18 Employment Agreement on February 20, 2019, and began working for Google on May 13, 2019. The
19 following day, May 14, 2019, DING signed Google’s Code of Conduct.

20          16.    The focus of DING’s work was the software platform deployed in Google’s network of

21 supercomputing data centers. DING’s job responsibilities included development of software that

22 allowed GPUs to function efficiently for machine learning, AI applications, or other purposes required

23 by Google or Google Cloud clients. Due to DING’s job responsibilities, he was authorized to access

24 Google Confidential Information related to Google’s supercomputing data centers, including the

25 hardware infrastructure, the software platform, and the AI models and applications they supported.

26 Without Informing Google, DING Affiliated with PRC-Based Companies in the AI Industry While
   Secretly Exfiltrating Google’s Trade Secrets and Other Confidential Information
27

28          17.    DING began uploading Google Confidential Information from Google’s network into a


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 1 personal Google Cloud account (“DING Account 1”) on May 21, 2022, and continued periodic uploads

 2 until May 2, 2023. In total, DING uploaded more than 1,000 unique files containing Google

 3 Confidential Information, including the trade secrets alleged in Trade Secret Categories One through

 4 Seven. DING exfiltrated these files by copying data from the Google source files into the Apple Notes

 5 application on his Google-issued MacBook laptop. DING then converted the Apple Notes into PDF

 6 files and uploaded them from the Google network into DING Account 1. This method helped DING

 7 evade immediate detection by Google.

 8          18.    Beginning on or about June 13, 2022, less than one month after DING’s unauthorized and

 9 secret upload activity started, DING received several emails from the Chief Executive Officer (CEO) of

10 Beijing Rongshu Lianzhi Technology Co., Ltd. (“Rongshu”), an early-stage technology company based

11 in the PRC. The emails indicated that the CEO had offered DING the position of Chief Technology

12 Officer (CTO), with a monthly salary of 100,000 RMB (approximately $14,800 in June 2022), plus an

13 annual bonus and company stock. Rongshu’s business objectives included the development of

14 acceleration software designed for ML on GPU chips. Rongshu touted its development of AI federated

15 learning platforms, which were systems for training AI models using decentralized data sources for

16 greater data privacy.

17          19.    DING traveled to the PRC on October 29, 2022, and remained there until March 25,

18 2023. Beginning in or about December 2022, while in the PRC, DING participated in investor meetings
19 to raise capital for Rongshu. Rongshu’s CEO informed potential investors during an April 17, 2023

20 meeting that DING was Rongshu’s CTO.

21          20.    DING never informed Google about his affiliation with Rongshu.

22          21.    By no later than May 30, 2023, DING had founded Shanghai Zhisuan Technology Co.

23 Ltd. (“Zhisuan”) and was acting as its CEO. Zhisuan was a PRC-based startup company that proposed

24 to develop a Cluster Management System (CMS) that could accelerate ML workloads, including training

25 large AI models powered by supercomputing chips.

26          22.    On or about May 30, 2023, DING applied on behalf of Zhisuan to a PRC-based startup

27 incubation program known as MiraclePlus. Zhisuan was accepted to the program, and on or about

28 November 20, 2023, DING signed an agreement granting a seven percent ownership interest in Zhisuan


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 1 to a MiraclePlus affiliated company in exchange for investment capital for Zhisuan. DING traveled to

 2 the PRC and pitched Zhisuan to investors at the MiraclePlus venture capital investor conference in

 3 Beijing on or about November 24, 2023. A Zhisuan document, which DING circulated on November

 4 29, 2023 to the members of a Zhisuan WeChat group, stated in part, “we have experience with Google’s

 5 ten-thousand-card computational power platform; we just need to replicate and upgrade it – and then

 6 further develop a computational power platform suited to China’s national conditions.”

 7          23.     DING never informed Google about his affiliation with Zhisuan.

 8 DING Intended to Benefit the PRC Government and Instrumentalities

 9          24.     On or about November 17, 2023, Ding circulated a PowerPoint presentation to other

10 Zhisuan employees citing PRC national policies encouraging the development of the domestic AI

11 industry. The presentation, which was circulated to potential Zhisuan investors, pointed to the State

12 Council’s 2017 “Notice on the Development of the New Generation of Artificial Intelligence,” which

13 called for the development of high-performance computing infrastructure. The PRC State Council is the

14 chief administrative authority in the PRC, and it functions as the executive branch of the central

15 government. The presentation also cited a policy document titled “Interim Measures for the

16 Management of Generative AI Services,” which was published and sponsored by seven PRC

17 government agencies, including the Cyberspace Administration of China (CAC). The CAC, also known

18 as the State Internet Information Office, is a PRC government agency responsible for regulating and
19 managing the PRC’s internet and cyberspace. The presentation quoted Article 6 of the Interim Measures

20 document, which seeks to “Encourage independent innovation in basic technologies such as generative

21 ratification intelligence algorithms, chips, and supporting software platforms . . . .”

22          25.     In or about December 2023, Ding created a PowerPoint presentation containing an

23 application to a PRC talent program based in Shanghai. Talent programs are sponsored by the PRC to

24 incentivize individuals engaged in research and development outside of the PRC to transmit that

25 knowledge and research to the PRC in exchange for salaries, research funds, lab space, or other

26 incentives. Ding’s application stated that his product “will help China to have computing power

27 infrastructure capabilities that are on par with the international level.”

28          26.     An internal Zhisuan memo dated December 14, 2023, indicates that Zhisuan intended to


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 1 market itself to and provide services to multiple PRC-controlled entities, including government agencies

 2 and universities.

 3 Google Detects DING’s Exfiltration of Google Confidential Information

 4          27.    On or about December 2, 2023, DING uploaded additional files from the Google network

 5 to another personal Google Drive account controlled by DING (“DING Account 2”) while DING was in

 6 the PRC. On December 8, 2023, after Google detected this activity, DING told a Google investigator

 7 that he had uploaded the files to his personal account to use the information as evidence of the work that

 8 he had conducted at Google. DING assured the investigator that he had no intention of leaving Google.

 9 DING signed a Self-Deletion Affidavit (SDA), dated December 8, 2023, that stated in part:

10                 I have searched my personal possessions, including all devices, accounts,
                   and documents in my custody or control for any non-public information
11                 originating from my job at Google . . . I have permanently deleted and/or
                   destroyed all copies of such information . . . As a result, I no longer have
12                 access to such information outside the scope of my employment.

13 DING did not tell Google that he had previously uploaded more than 1,000 confidential files, including

14 Google trade secrets, between May 2022 and May 2023, nor that he was affiliated with Rongshu and

15 Zhisuan.

16          28.    Unbeknownst to Google, on December 14, 2023, DING booked a one-way ticket from

17 San Francisco to Beijing on a China Southern Airlines flight scheduled to depart on January 7, 2024.

18          29.    On December 26, 2023, DING sent an email to his manager resigning from Google and

19 stating that his last day would be January 5, 2024.

20          30.    On or about December 29, 2023, Google learned that DING had presented as the CEO of

21 Zhisuan at the MiraclePlus investor conference in Beijing on November 24, 2023. Google then

22 suspended DING’s network access and remotely locked his Google laptop. Google searched DING’s

23 network activity history and discovered DING’s unauthorized uploads from May 2022 through May

24 2023.

25          31.    Also on or about December 29, 2023, Google investigators reviewed surveillance footage

26 from the entrance to the Google building where DING worked. Google observed another employee scan

27 DING’s access badge on December 4, 6, and 8, 2023, making it appear as though DING had been

28 working from his U.S. Google office on those dates when in fact DING was in the PRC. The employee


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 1 who scanned DING’s badge stated to Google that DING had asked him/her to periodically scan his

 2 badge while he was traveling to make it appear as though he was working from his office.

 3          32.    On January 4, 2024, Google security personnel retrieved DING’s Google laptop and

 4 mobile device from DING’s residence.

 5 FBI Investigation of DING

 6          33.    On January 6, 2024, the Federal Bureau of Investigation (FBI) executed a search warrant

 7 at DING’s residence, seizing his electronic devices and other evidence.

 8          34.    On January 13, 2024, the FBI executed an additional search warrant for the contents of

 9 DING Accounts 1 and 2. DING Account 1 contained more than 1,000 unique files containing Google

10 Confidential Information, including the trade secrets in Trade Secret Categories One through Seven.

11 General Description of Stolen Trade Secrets

12          35.    In general, the trade secrets described in Trade Secret Categories One through Seven

13 pertain to the hardware infrastructure and software platform that allowed Google’s supercomputing data

14 centers to train and serve large AI models. The trade secrets contain detailed information about the

15 architecture and functionality of TPU chips and systems and GPU systems, the software that allowed the

16 chips to communicate and execute tasks, and the software that orchestrated thousands of chips into a

17 supercomputer capable of training and executing cutting-edge AI workloads. The trade secrets also

18 pertain to Google’s custom designed SmartNIC and related software.
19          Trade Secret Category 1:

20          36.    Instruction sets, protocols, internal specifications, and implementation level details

21 related to the four primary components of Google’s custom designed TPU chip: (1) TensorCore; (2)

22 BarnaCore/SparseCore; (3) high bandwidth memory (HBM) access interface; and (4) inter-chip-

23 interconnect (ICI).

24          Trade Secret Category 2:

25          37.    Documents including details of the design, performance, and operation of Google’s

26 custom designed TPU chips, TPU machines, and TPU systems.

27          Trade Secret Category 3:

28          38.    Design documents for Google’s TPU software that managed the hardware and resources


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 1 within a TPU, facilitated communication between TPUs, and allocated and managed collections of

 2 interconnected TPUs to different workloads.

 3          Trade Secret Category 4:

 4          39.      Documents including details of the design, performance, and operation of Google’s

 5 custom GPU machines and GPU systems.

 6          Trade Secret Category 5:

 7          40.      Design documents for Google’s GPU software that facilitated communication between

 8 GPUs and allocated and managed collections of interconnected GPUs to different workloads.

 9          Trade Secret Category 6:

10          41.      Design specifications to implement Google’s proprietary chip component designed to

11 deliver low-latency and high-bandwidth transfers of data over large-scale networks on Google’s

12 SmartNIC.

13          Trade Secret Category 7:

14          42.      Design documents for Google’s software to implement its high performance and cloud

15 networking on its SmartNIC.

16 COUNTS ONE THROUGH SEVEN: (18 U.S.C. § 1832(a)(1), (2), & (3) – Theft of Trade Secrets)

17          43.      The allegations contained in Paragraphs 1 through 42 are realleged and incorporated as if

18 fully set forth herein.
19          44.      On or about the dates set forth in the separate counts below, in the Northern District of

20 California and elsewhere, the defendant,

21                                                 LINWEI DING,

22 intending to convert a trade secret that was related to a product and service used in and intended for use

23 in interstate and foreign commerce to the economic benefit of anyone other than the owner of that trade

24 secret, and knowing and intending that the offense would injure the owner of that trade secret, as

25 specifically alleged in each of Counts One through Seven below:

26                a. knowingly stole, and without authorization appropriated, took, carried away, concealed,

27          and by fraud, artifice, and deception obtained trade secrets belonging to Google;

28                b. knowingly and without authorization copied, duplicated, sketched, drew, downloaded,


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 1          uploaded, altered, photocopied, replicated, transmitted, delivered, sent, communicated, and

 2          conveyed trade secrets belonging to Google; and

 3              c. knowingly and without authorization received, bought, and possessed trade secrets

 4          belonging to Google, and attempted to do so, knowing the same to have been stolen and

 5          appropriated, obtained, and converted without authorization:

 6                  Count              Date                        Item Description
 7                    One      On or about and          Trade Secret Category One
                               between June 1, 2022
 8
                               and April 17, 2023
 9
                     Two       On or about and          Trade Secret Category Two
10
                               between June 1, 2022
11                             and April 17, 2023
12                   Three     On or about and          Trade Secret Category Three
13                             between June 1, 2022

14                             and April 17, 2023
                     Four      On or about and          Trade Secret Category Four
15
                               between June 1, 2022
16
                               and April 17, 2023
17
                     Five      On or about and          Trade Secret Category Five
18                             between June 3, 2022
19                             and April 17, 2023
20                    Six      On or about and          Trade Secret Category Six

21                             between June 1, 2022
                               and April 17, 2023
22
                     Seven     On or about and          Trade Secret Category Seven
23
                               between June 1, 2022
24
                               and April 17, 2023
25
     Each in violation of Title 18, United States Code, Sections 1832(a)(1), (2), and (3).
26

27

28


     SUPERSEDING INDICTMENT                           11
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 1 COUNTS EIGHT THROUGH FOURTEEN: (18 U.S.C. § 1831(a)(1), (2), & (3) – Economic Espionage

 2          45.      The allegations contained in Paragraphs 1 through 42 are realleged and incorporated as if

 3 fully set forth herein.

 4          46.      On or about the dates set forth in the separate counts below, in the Northern District of

 5 California and elsewhere, the defendant,

 6                                                 LINWEI DING,

 7 intending or knowing that the offense would benefit any foreign government, foreign instrumentality, or

 8 foreign agent:

 9                a. knowingly stole, and without authorization appropriated, took, carried away, concealed,

10                   and by fraud, artifice, and deception obtained trade secrets alleged in each of Counts

11                   Eight through Fourteen below belonging to Google;

12                b. knowingly and without authorization copied, duplicated, sketched, drew, downloaded,

13                   uploaded, altered, photocopied, replicated, transmitted, delivered, sent, communicated,

14                   and conveyed trade secrets alleged in each of Counts Eight through Fourteen below

15                   belonging to Google; and

16                c. knowingly and without authorization received, bought, and possessed trade secrets alleged

17                   in each of Counts Eight through Fourteen below belonging to Google, and attempted to

18                   do so, knowing the same to have been stolen and appropriated, obtained, and converted

19                   without authorization:

20                    Count             Date                        Item Description
21                    Eight    On or about and          Trade Secret Category One
                               between June 1, 2022
22
                               and April 17, 2023
23
                      Nine     On or about and          Trade Secret Category Two
24
                               between June 1, 2022
25                             and April 17, 2023
26

27

28


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 1                    Ten     On or about and          Trade Secret Category Three
 2                            between June 1, 2022
                              and April 17, 2023
 3

 4

 5                  Eleven    On or about and          Trade Secret Category Four
 6                            between June 1, 2022
 7                            and April 17, 2023

 8                  Twelve    On or about and          Trade Secret Category Five
                              between June 1, 2022
 9
                              and April 17, 2023
10
                   Thirteen   On or about and          Trade Secret Category Six
11                            between June 1, 2022
12                            and April 17, 2023
13                 Fourteen On or about and            Trade Secret Category Seven

14                            between June 1, 2022
                              and April 17, 2023
15

16 Each in violation of Title 18, United States Code, Sections 1831(a)(1), (2), and (3).

17 FORFEITURE ALLEGATION: (18 U.S.C. §§ 981(a)(1)(C), 1834, and 2323, and 28 U.S.C. § 2461(c) –
   Proceeds and Property Involved in Theft of Trade Secrets)
18
19          47.     The factual allegations contained in Paragraphs 1 through 46 of this Superseding

20 Indictment are realleged and by this reference fully incorporated herein for the purposes of alleging

21 forfeiture. Upon conviction of any of those offenses, the defendant,

22                                                LINWEI DING,

23 shall forfeit to the United States of America, pursuant to Title 18, United States Code, Sections

24 981(a)(1)(C), 1834, and 2323, and Title 28, United States Code, Section 2461(c), any property used, or

25 intended to be used, in any manner or part to commit or facilitate the commission of the offenses, and

26 any property, real or personal, which constitutes or is derived from proceeds traceable to the offenses,

27 including, but not limited to, a sum of money equal to the total amount of proceeds defendant obtained

28 or derived, directly or indirectly, from the violations, or the value of the property used to commit or to


     SUPERSEDING INDICTMENT                          13
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 1 facilitate the commission of said violations.

 2          48.      If any of the property described above, as a result of any act or omission of the defendant:

 3                a. cannot be located upon the exercise of due diligence;

 4                b. has been transferred or sold to, or deposited with, a third party;

 5                c. has been placed beyond the jurisdiction of the court;

 6                d. has been substantially diminished in value; or

 7                e. has been commingled with other property which cannot be divided without difficulty,

 8 the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

 9 United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section 2323(b).

10          All pursuant to Title 18, United States Code, Sections 981(a)(1)(C), 1834, and 2323, Title 28,

11 United States Code, Section 2461(c), and Federal Rule of Criminal Procedure 32.2.

12

13   DATED: February 4, 2025                                        A TRUE BILL.

14                                                                  /s/ Foreperson

15
                                                                    FOREPERSON
16                                                                  San Francisco, California
17
   ISMAIL J. RAMSEY
18 United States Attorney
19

20   /s/
   CASEY BOOME
21 MOLLY K. PRIEDEMAN
   Assistant United States Attorneys
22

23 STEPHEN MARZEN
   YIFEI ZHENG
24 Trial Attorneys
   National Security Division
25

26

27

28


     SUPERSEDING INDICTMENT                            14
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       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT           INFORMATION             INDICTMENT                          Name of District Court, and/or Judge/Magistrate Location
                                                      SUPERSEDING                           NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                      SAN FRANCISCO DIVISION
                                                                Petty

                                                                Minor              DEFENDANT - U.S
                                                                Misde-
                                                                meanor

                                                                Felony
                                                                                      DISTRICT COURT NUMBER
PENALTY:




                                                                                                                DEFENDANT
                          PROCEEDING                                                    IS NOT IN CUSTODY
                                                                                          Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                       1)       If not detained give date any prior
                                                                                          summons was served on above charges

       person is awaiting trial in another Federal or State Court,               2)       Is a Fugitive
       give name of court
                                                                                 3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                        IS IN CUSTODY
                                                                                 4)       On this charge
       this is a reprosecution of

                                                                                                                           }
       charges previously dismissed                                              5)       On another conviction
       which were dismissed on motion                    SHOW                                                                        Federal         State


                                                }
       of:                                             DOCKET NO.
                                                                                 6)       Awaiting trial on other charges
            U.S. ATTORNEY          DEFENSE
                                                                                           If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                    }
                                                                                                          Yes            If "Yes"
       pending case involving this same                                               Has detainer
                                                                                                                         give date
       defendant                                      MAGISTRATE                      been filed?         No             filed


                                                }
                                                       CASE NO.
                                                                                      DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                          ARREST
       defendant were recorded under                                                  Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                             DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form                                                   TO U.S. CUSTODY
                             U.S. Attorney       Other U.S. Agency

Name of Assistant U.S.                                                                     This report amends AO 257 previously submitted
Attorney (if assigned)
                                                ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS           NO PROCESS*            WARRANT             Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                           * Where defendant previously apprehended on complaint, no new summons or
                                                                         warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                         Date/Time:                                 Before Judge:

        Comments:
